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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                     NO. 4:07CR00123-002 SWW

GALIA MARTIN




                           ORDER OF DISMISSAL

      Upon the government’s motion to dismiss the indictment pending

against defendant Galia Martin,

      IT IS ORDERED that the motion is granted, and the indictment pending

in this case hereby is dismissed without prejudice as to separate

defendant Galia Martin only.

      Dated this 20th day of February, 2008.



                                        /s/Susan Webber Wright

                                        UNITED STATES DISTRICT JUDGE
